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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

  AMANDA DEAGAN and DAVID DEAGAN,

        Plaintiffs,                                  CASE NO.:

  -v-

  EXETER FINANCE LLC,

        Defendant.
                                          /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

            COMES NOW Plaintiff, AMANDA DEAGAN (“individually Mrs. Deagan”) and

  DAVID DEAGAN (“individually Mr. Deagan”) (collectivley “Plaintiff’s”), by and

  through the undersigned counsel, and sues Defendant, EXETER FINANCE LLC, and in

  support thereof respectfully alleges violations of the Telephone Consumer Protection Act,

  47 U.S.C. § 227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act,

  Fla. Stat. § 559.55 et seq. (“FCCPA”).

                                        INTRODUCTION

            1.        The TCPA was enacted to prevent companies like Defendant from

  invading American citizen’s privacy and prevent abusive “robo-calls.”

            2.        “The TCPA is designed to protect individual consumers from receiving

  intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132

  S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

            3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

  scourge of modern civilization, they wake us up in the morning; they interrupt our dinner


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  at night; they force the sick and elderly out of bed; they hound us until we want to rip the

  telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably

  intended to give telephone subscribers another option: telling the auto-dialers to simply

  stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

         4.      According    to   the   Federal   Communications      Commission     (FCC),

  “Unwanted calls and texts are the number one complaint to the FCC. There are thousands

  of complaints to the FCC every month on both telemarketing and robocalls. The FCC

  received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal

  to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless

  Phones,      Federal      Communications         Commission,      (May       27,     2015),

  http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-

  333676A1.pdf.

                              JURISDICTION AND VENUE

         5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

  ($75,000.00) exclusive of attorney fees and costs.

         6.      Jurisdiction and venue for purposes of this action are appropriate and

  conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

  violations of the TCPA.

         7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

  this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

  district courts shall have original jurisdiction of all civil actions arising under the

  Constitution, laws, or treaties of the United States; and this action involves violations of


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  47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

  and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014)

          8.      The alleged violations described herein occurred in Hillsborough County,

  Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)

  as it is the judicial district in which a substantial part of the events or omissions giving

  rise to this action occurred.

                                     FACTUAL ALLEGATIONS

          9.      Plaintiffs are natural persons, and citizens of the State of Florida, residing

  in Hillsborough County, Florida

          10.     Plaintiffs are “consumers” as defined in Florida Statute § 559.55(8).

          11.     Plaintiffs are “alleged debtors.”

          12.     Plaintiffs are the “called parties.” See Breslow v. Wells Fargo Bank, N.A.,

  755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242

  (11th Cir. 2014).

          13.     Defendant is a corporation which was formed in Texas with its principal

  place of business located at 222 W Las Colinas Blvd, Suite 1800 Irving, Texas 75039 and

  which conducts business in the State of Florida through its registered agent, Corporation

  Service Company located at 1201 Hays Street Tallahassee, Florida 32301.

          14.     The debt that is the subject matter of this Complaint is a “consumer debt”

  as defined by Florida Statute §559.55(6).

          15.     Defendant is a “creditor” as defined in Florida Statute §559.55(5)




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         16.     Defendant called Plaintiffs on their respective cellular telephones

  approximately one hundred and fifty (150) times in an attempt to collect a debt.

         17.     Defendant attempted to collect an alleged debt from Plaintiffs by this

  campaign of telephone calls.

         18.     Upon information and belief, some or all of the calls the Defendant made

  to Plaintiffs’ cellular telephone numbers were made using an “automatic telephone

  dialing system” which has the capacity to store or produce telephone numbers to be

  called, using a random or sequential number generator (including but not limited to a

  predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as

  specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”).

         19.     Plaintiff, MRS. DEAGAN is the subscriber, regular user and carrier of the

  cellular telephone number (813) ***- 0650, and was the called party and recipient of

  Defendant’s calls.

         20.     Plaintiff, MR. DEAGAN is the subscriber, regular user and carrier of the

  cellular telephone number (813) ***- 9608, and was the called party and recipient of

  Defendant’s calls.

         21.     Upon receipt of the calls from Defendant, Plaintiffs’ caller ID identified

  the calls were being initiated from, but not limited to, the following telephone number:

  (800) 321-9637.

         22.     On several occasions over the last four (4) years Plaintiffs instructed

  Defendant’s agents/representatives to stop calling their respective cellular telephones.




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          23.      In or about January 2018, and on many other occasions MRS. DEAGAN

  answered a call to her aforementioned cellular telephone number. MRS. DEAGAN was

  connected to an agent/representative of Defendant and informed the agent/representative

  that the calls to her cellular telephone were harassing and demanded that they cease

  calling her cellular telephone number.

          24.      In or about February 2018, MRS. DEAGAN answered a call to her

  aforementioned      cellular   telephone   number.   MRS.   DEAGAN      spoke   to   an

  agent/representative of Defendant and demanded for the calls to her cellular telephone

  cease and to be put on their “do not call list”. The agent/representative stated that

  MRS.DEAGAN will no longer receive calls from Defendant to her cellular telephone

  number and disconnected the call.

          25.      In or about February 2018, MRS. DEAGAN answered another call to her

  aforementioned      cellular   telephone   number.   MRS.   DEAGAN      spoke   to   an

  agent/representative of Defendant and explained that she has already demanded for all

  calls to cease to her cellular telephone number. MRS. DEAGAN also informed the

  agent/representative that she has already been put on the companies “do not call” and

  demanded an end to the harassing telephone calls.

          26.      Each subsequent call Defendant made to Plaintiffs’ respective cellular

  telephone numbers was knowing and willful and done so without the “express consent”

  of Plaintiffs.




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         27.     MRS. DEAGAN’s conversations with Defendant’s agents/representatives

  wherein she demanded a cessation of calls were in vain as Defendant continued to

  bombard her with automated calls unabated.

         28.     In or about March 2018, and on many other occasions MR. DEAGAN

  answered a call to his aforementioned cellular telephone number from Defendant. MR.

  DEAGAN spoke to an agent/representative of Defendant and demanded that the

  harassing telephone calls to his cellular telephone number cease.

         29.     Despite clearly and unequivocally revoking any consent Defendant may

  have believed they had to call Plaintiffs on their respective cellular telephones, Defendant

  continued to place automated calls to Plaintiffs.

         30.     Defendant intentionally harassed and abused Plaintiffs on numerous

  occasions by calling several times during one day, and on back to back days, with such

  frequency as can be reasonably expected to harass.

         31.     Due to the tremendous volume of calls Plaintiff, MRS. DEAGAN received

  over a lengthy period of time; she was not able to properly catalogue each and every call.

  However attached hereto as Exhibit A is a small sampling of some of the automated calls

  Plaintiff received to her cellular telephone from Defendant.

         32.     Due to the tremendous volume of calls Plaintiff, MR. DEAGAN received

  over a lengthy period of time; he was not able to properly catalogue each and every call.

  However attached hereto as Exhibit B is a small sampling of some of the automated calls

  Plaintiff received to his cellular telephone from Defendant.




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          33.     Defendant has a corporate policy to use an automatic telephone dialing

  system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff’s

  cellular telephones in this case.

          34.     Defendant has a corporate policy to use an automatic telephone dialing

  system or a pre-recorded or artificial voice just as it did to Plaintiff’s cellular telephones

  in this case, with no way for the consumer, Plaintiff’s, or Defendant, to remove the

  number.

          35.     Defendant’s corporate policy is structured so as to continue to call

  individuals like Plaintiffs; despite these individuals explaining to Defendant they wish for

  the calls to stop.

          36.     Defendant has numerous other federal lawsuits pending against it alleging

  similar violations as stated in this Complaint.

          37.     Defendant has had numerous complaints from consumers across the

  country against it asking to not be called; however, Defendant continues to call the

  consumers.

          38.     Defendant’s corporate policy provided no means for Plaintiffs to have

  their numbers removed from Defendant’s call list.

          39.     Defendant has a corporate policy to harass and abuse individuals despite

  actual knowledge the called parties do not wish to be called.

          40.     Not a single call placed by Defendant to Plaintiffs were placed for

  “emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).




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          41.    Defendant willfully and knowingly violated the TCPA with respect to

  Plaintiffs.

          42.    From each and every call placed without consent by Defendant to

  Plaintiffs’ respective cellular telephones, Plaintiffs suffered the injury of invasion of

  privacy and the intrusion upon their right of seclusion.

          43.    From each and every call without express consent placed by Defendant to

  Plaintiffs’ respective cellular telephones, Plaintiffs suffered the injury of occupation of

  their cellular telephone lines and cellular telephones by unwelcome calls, making the

  telephones unavailable for legitimate callers or outgoing calls while the telephones were

  ringing from Defendant’s calls.

          44.    From each and every call placed without express consent by Defendant to

  Plaintiffs’ cellular telephones, Plaintiffs suffered the injury of unnecessary expenditure of

  their time. For calls they answered, the time they spent on the call was unnecessary as

  they repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiffs had to

  waste time to unlock the telephones and deal with missed call notifications and call logs

  that reflected the unwanted calls. This also impaired the usefulness of these features of

  Plaintiffs’ respective cellular telephones, which are designed to inform the users of

  important missed communications.

          45.    Each and every call placed without express consent by Defendant to

  Plaintiffs’ respective cellular telephone was an injury in the form of a nuisance and

  annoyance to Plaintiffs. For calls that were answered, Plaintiffs had to go to the

  unnecessary trouble of answering them. Even for unanswered calls, Plaintiffs had to



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  waste time to unlock the telephones and deal with missed call notifications and call logs

  that reflected the unwanted calls. This also impaired the usefulness of these features of

  Plaintiffs’ respective cellular telephones, which are designed to inform the users of

  important missed communications.

          46.     Each and every call placed without express consent by Defendant to

  Plaintiffs’ respective cellular telephones resulted in the injury of unnecessary expenditure

  of Plaintiffs’ respective cellular telephones battery power.

          47.     Each and every call placed without express consent by Defendant to

  Plaintiffs’ cellular telephones where a voice message was left which occupied space in

  Plaintiffs’ telephones or network.

          48.     Each and every call placed without express consent by Defendant to

  Plaintiffs’ cellular telephones resulted in the injury of a trespass to Plaintiffs’ chattel,

  namely their cellular telephones and their cellular telephone services.

          49.     As a result of the calls described above, Plaintiffs suffered an invasion of

  privacy. Plaintiffs were also affected in a personal and individualized way by stress and

  anxiety.

                                            COUNT I
                                     (Violation of the TCPA)

          50.     Plaintiffs fully incorporate and re-allege paragraphs one (1) through forty-

  nine (49) as if fully set forth herein.

          51.     Defendant willfully violated the TCPA with respect to Plaintiffs,

  especially for each of the auto-dialer calls made to Plaintiffs’ cellular telephones after

  Plaintiffs notified Defendant that they wished for the calls to stop.


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           52.     Defendant repeatedly placed non-emergency telephone calls to Plaintiffs’

   cellular telephones using an automatic telephone dialing system or prerecorded or

   artificial voice without Plaintiffs’ prior express consent in violation of federal law,

   including 47 U.S.C § 227(b)(1)(A)(iii).

           WHEREFORE, Plaintiffs respectfully demands a trial by jury on all issues so

   triable and judgment against EXETER FINANCE LLC for statutory damages, punitive

   damages, actual damages, treble damages, enjoinder from further violations of these parts

   and any other such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FCCPA)

           53.     Plaintiffs fully incorporate and re-alleges paragraph one (1) through forty-

   nine (49) as if fully set forth herein.

           54.     At all times relevant to this action Defendant is subject to and must abide

   by the laws of the State of Florida, including Florida Statute § 559.72.

           55.     Defendant has violated Florida Statute § 559.72(7) by willfully

   communicating with the debtor or any member of his or her family with such frequency

   as can reasonably be expected to harass the debtor or his or her family.

           56.     Defendant has violated Florida Statute § 559.72(7) by willfully engaging

   in other conduct which can reasonably be expected to abuse or harass the debtor or any

   member of his or her family.

           57.     Defendant’s actions have directly and proximately resulted in Plaintiff’s

   prior and continuous sustaining of damages as described by Florida Statute § 559.77.

           WHEREFORE, Plaintiffs respectfully demands a trial by jury on all issues so


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   triable and judgment against EXETER FINANCE LLC for statutory damages, punitive

   damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

   of these parts and any other such relief the court may deem just and proper.

                                                Respectfully submitted,

                                                /s/ Jason R. Derry
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